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12
                     IN THE UNITED STATES DISTRICT COURT
13                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
14
     United States of America,        )
15                                    )             Case No. '20CV0087 BEN KSC
16           Plaintiff,               )
                                      )             COMPLAINT TO REDUCE
17           v.                       )             CIVIL PENALTY
18                                    )             ASSESSMENTS TO
     Robert Goldsmith,                )             JUDGMENT
19                                    )
20           Defendant.               )
     _________________________________)
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22         Plaintiff, the United States of America (“United States”), with the
23   authorization of the Secretary of the Treasury (see 31 U.S.C. § 3711(g)(4)(C)) and
24   at the direction of the Attorney General of the United States, brings this timely
25   action to collect from the Defendant Robert Goldsmith (“Defendant”) an
26   outstanding civil penalty (31 U.S.C. § 5321(a)(5)), commonly known as an FBAR
27   penalty.
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 1         1.     This penalty was assessed against the Defendant for his failure to
 2   timely report his financial interest in, and/or his signatory authority over, a foreign
 3   bank account for the 2008, 2009 and 2010 calendar years, as required by 31 U.S.C.
 4   § 5314 and its implementing regulations, as well as all associated penalties and
 5   interest, having a total balance due to the United States of America of $303,413.87
 6   as of January 3, 2020.
 7         2.     Additionally, the United States intends to proceed under the Federal
 8   Debt Collection Practices Act (28 U.S.C. §§ 3001-3308) to collect any judgment it
 9   obtains in this case, including the use of all appropriate pre-judgment remedies,
10   post-judgment remedies, and the additional surcharge as authorized by 28 U.S.C. §
11   3011. In support of this action, the United States alleges as follows:
12                                       DEFENDANT
13         3.     Defendant Robert Goldsmith is a United States citizen, who currently
14   resides in Paradise Valley, Arizona.
15                             JURISDICTION AND VENUE
16         4.     Jurisdiction over the above captioned action is conferred upon this
17   district court by 28 U.S.C. §§ 1331, 1345 and 1355.
18         5.     Venue properly lies in the District of Arizona under
19   28 U.S.C. § 1391(b)(1) because Defendant resides within the judicial district.
20   Further, venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of
21   the events or omissions giving rise to the claim occurred in this judicial district.
22                 FOREIGN BANK OR OTHER FINANCIAL ACCOUNTS
23         6.     31 U.S.C. § 5314 authorizes the Secretary of the Treasury to require
24   United States persons to report certain transactions with foreign financial agencies.
25   Under the statute’s implementing regulations, “[e]ach United States person having
26   a financial interest in, or signature authority over, a bank, securities, or other
27   financial account in a foreign country shall report such relationship” to the Internal
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 1   Revenue Service (“IRS”) for each year in which such relationship exists. 31
 2   C.F.R. § 1010.350(a).
 3         7.    To fulfill this requirement during the years at issue, 2008, 2009 and
 4   2010, a person was required to file a Form TD F 90-22.1, “Report of Foreign Bank
 5   and Financial Accounts,” commonly known as an “FBAR.” For the years at issue,
 6   an FBAR was due by June 30 “of each calendar year with respect to foreign
 7   financial accounts exceeding $10,000 maintained during the previous calendar
 8   year.” 31 C.F.R. § 1010.306(c).
 9         8.    31 U.S.C. § 5321(a)(5) provides for the imposition of civil penalties
10   for failure to comply with the reporting requirements of 31 U.S.C. § 5314.
11         Basler Kantonalbank Account
12         9.    Prior to 1982, Defendant’s father opened a bank account at Basler
13   Kantonalbank, a Swiss cantonal bank. When Defendant’s father died in 1982,
14   Defendant’s mother inherited that account.
15         10.   Prior to 1989, Defendant was added as a signatory to the account at
16   Basler Kantonalbank.
17         11.   When Defendant’s mother died in 1989, Defendant inherited the funds
18   deposited there and traveled to Switzerland to meet a representative of Basler
19   Kantonalbank.
20         12.   Defendant became the title holder to a Basler Kantonalbank account
21   containing the inherited funds and ending in number 8171 (the “Basler Account”).
22   Defendant owned and managed the Basler Account, and personally used and
23   profited from the funds in the Basler Account. As part of his management of the
24   account, Defendant added his wife and son as signatories to the Basler Account.
25         13.   Defendant met annually with an account advisor from Basler
26   Kantonalbank in Switzerland. During these annual in person meetings, the
27   Defendant made cash withdrawals from the Basler Account, which were used for
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 1   various expenses, including personal vacations in Europe. In addition to this
 2   annual meeting, Defendant managed the Basler Account through telephone calls
 3   and other correspondence.
 4         Defendant Misleads His Accountant Regarding The Basler Account
 5         14.    At some point in the 1980s, Defendant began using Howard Zipser,
 6   CPA to provide tax guidance and prepare his and his wife’s U.S. Individual
 7   Income Tax Return (hereinafter “Form 1040” or “individual tax return”).
 8         15.    Each year Mr. Zipser relied on information provided by the Defendant
 9   and his wife to prepare the Form 1040. For the years at issue in this matter, Mr.
10   Zipser provided Defendant and his wife with a financial questionnaire to assist
11   with tax planning and compliance. The Defendant and his wife were involved in
12   the preparation of their returns, collected financial information to answer Mr.
13   Zipser’s questionnaire, and personally discussed their answers to the questionnaire,
14   along with the information they collected, with Mr. Zipser.
15         16.    The questionnaire Mr. Zipser provided each year included at least two
16   questions regarding offshore accounts. Specifically, Mr. Zipser asked Defendant
17   whether he owned foreign accounts and whether he had received any foreign
18   income.
19         17.    For the years 2009 and 2010, Defendant responded “no” to the
20   question asking if he had received any foreign income, despite the fact that
21   Defendant knew this to be false.
22         18.    Defendant’s individual tax returns did not disclose the Basler Account
23   for any of the three calendar years at issue (2008, 2009 and 2010).
24         19.    Defendant responded “no” to the question regarding ownership of a
25   foreign account in 2009 on his accountant’s questionnaire despite the fact that
26   Defendant had a reportable interest in the Basler Account. The highest balance of
27   the Basler Account in 2009 was $367,357.71.
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 1         20.         In 2010, Defendant opened an account in Italy at the Banco Popolare
 2   Di Intra. On February 5, 2011, the Defendant’s wife sent Mr. Zipser a letter
 3   informing him of the Italian account and asking whether any forms needed to be
 4   filled out in relation to that account.
 5         21.         Defendant did not inform Mr. Zipser of the existence of the Basler
 6   Account despite his wife exhibiting concern regarding reporting requirements for
 7   the couple’s other foreign account. Defendant’s wife’s conversation with Mr.
 8   Zipser took place months before the June 30, 2011 reporting deadline for the 2010
 9   FBAR.
10         22.         Defendant responded “yes” to Mr. Zipser’s question regarding
11   ownership of a foreign account in 2010 and 2011, but only identified the Banco
12   Popolare account. Defendant claimed that the highest balance in all of his foreign
13   accounts was less than $10,000, when in fact the Basler Account contained
14   $364,884 in 2010. Although the Defendant identified and disclosed the Banco
15   Popolare account on his individual tax returns, he continued to conceal the
16   significantly larger Basler Account from Mr. Zipser and the IRS.
17         Willful Failure To File FBARs
18         23.         In addition to Defendant’s willful failure to file FBARs for the years
19   at issue, Defendant’s interest in the Basler Account was not reported or otherwise
20   disclosed on Defendant’s 2008, 2009 or 2010 Form 1040, nor was any foreign
21   income associated with the Basler Account reported in those years. Defendant’s
22   interest was not disclosed despite that:
23               (a)      the balance of the Basler Account was above $10,000 during the
24                        years of 2008, 2009 and 2010;
25               (b)      in the years 2003 through 2012, Defendant made annual cash
26                        withdrawals of between $17,000 and $61,000 per year from the
27                        Basler Account;
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 1               (c)      Defendant received offshore interest and dividend income from the
 2                        Basler Account in multiple years, including 2008, 2009 and 2010;
 3                        and
 4               (d)      Defendant received gross proceeds in excess of $225,000 from the
 5                        sale of securities in the Basler Account in the years following
 6                        2007.
 7         24.         For years 2008 through 2010, Defendant did not disclose his
 8   ownership of the Basler Account or his income associated with that account on his
 9   Form 1040s.
10         25.         Defendant responded “no” to the Schedule B Part III question on his
11   individual tax returns for tax years 2008 through 2010 regarding offshore accounts,
12   and also failed to timely file FBARs for the calendar years 2008 through 2010.
13         26.         Defendant failed to report any foreign income on his individual tax
14   returns for the 2008 through 2010 tax years.
15         27.         In the spring of 2012, prior to April 25, 2012, Defendant received a
16   letter from Basler Kantonalbank informing Defendant and his wife of their United
17   States tax reporting requirements.
18         28.         On April 25, 2012, Defendant closed the Basler Account.
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 1           CLAIM FOR RELIEF: JUDGMENT FOR CIVIL PENALTIES
 2                                  (31 U.S.C. § 5321(a)(5))
 3           Liability for the Civil Penalty
 4           29.   During the calendar years 2008, 2009 and 2010, Defendant was a
 5   United States person within the meaning of 31 C.F.R. § 1010.350(b).
 6           30.   During the calendar years 2008, 2009 and 2010, Defendant had a
 7   financial interest, within the meaning of 31 C.F.R. § 1010.350(e), over the Basler
 8   Account.
 9           31.   The Basler Account was a bank account in a foreign country.
10           32.   During each of the calendar years 2008, 2009 and 2010, the balance of
11   the foreign accounts in which defendant had a reportable interest exceeded
12   $10,000.
13           33.   Defendant failed to timely file an FBAR with regard to the 2008, 2009
14   and 2010 calendar years as required by 31 U.S.C. § 5314 and 31 C.F.R.
15   § 1010.306(c).
16           34.   The failure of Defendant to timely file an FBAR with regard to the
17   2008, 2009 and 2010 calendar years was willful within the meaning of 31 U.S.C.
18   § 5321(a)(5).
19           Assessment and Collection of the Civil Penalty
20           35.   On March 11, 2015 Defendant consented to extend the statute of
21   limitations for assessing the FBAR penalty for calendar year 2008 to June 30,
22   2016.
23           36.   On February 9, 2016 Defendant consented to extend the statute of
24   limitations for assessing the FBAR penalty for calendar years 2008 and 2009 to
25   June 30, 2017.
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 1         37.    On February 10, 2017, Defendant consented to extend the statute of
 2   limitations for assessing the FBAR penalty for calendar years 2008, 2009 and 2010
 3   to December 31, 2017.
 4         38.    On September 6, 2017, Defendant consented to extend the statute of
 5   limitations for assessing the FBAR penalty for calendar years 2008, 2009 and 2010
 6   to December 31, 2018.
 7         39.    On or about June 19, 2018, a delegate of the Secretary of the Treasury
 8   timely assessed civil penalties against Defendant Robert Goldsmith in the total
 9   amount of $273,846, due to the willful failure of Defendant to timely file FBARs
10   to disclose the Basler Account to the IRS for the calendar years 2008, 2009 and
11   2010 (“FBAR Penalties”), as follows:
12

13                                  Year              Penalty
14                                              Assessed
15                                  2008              $122,375.00
16                                  2009              $82,082.00
17                                  2010              $69,389.00
18                                  TOTAL             $273,846.00
19

20         40.    A delegate of the Secretary of Treasury timely sent a notice of the
21   assessments and demand for payment of the FBAR Penalties as described in ¶ 39
22   to Defendant on June 27, 2018 at Defendant’s last known address.
23         41.    In addition to the FBAR Penalties, Defendant owes late-payment
24   penalties pursuant to 31 U.S.C. § 3717(e)(2), interest pursuant to 31 U.S.C.
25   § 3717(a), and applicable collection related fees pursuant to 31 U.S.C.
26   § 3717(e)(1). As of January 3, 2020, an additional $4,223.98 in interest and
27   $25,343.89 in penalties had accrued.
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 1         42.      As of January 3, 2020, the unpaid balance owed to the United States
 2   by Defendant for the FBAR Penalties, the late payment penalties, applicable fees
 3   and interest, less any payments, was $303,413.87.
 4         43.      The United States is entitled to a judgment against Defendant in the
 5   amount of $303,413.87 as of January 3, 2020, plus statutory accruals as provided
 6   by law from that date until fully paid.
 7         WHEREFORE, the United States requests that the Court:
 8               A. Enter judgment in favor of the United States of America and against
 9                  Robert Goldsmith, in the amount of $303,413.87 as of January 3,
10                  2020, plus statutory accruals from that date until fully paid; and
11               B. Award the United States of America its costs, and such other further
12                  relief as the Court deems just and proper.
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           DATED this 13th day of January, 2020.

15                                             Respectfully submitted,
16
                                               RICHARD E. ZUCKERMAN
17                                             Principal Deputy Assistant Attorney General
18
                                               /s/ James Petrila
19                                             JAMES PETRILA
20                                             NITHYA SENRA
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